                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA                   :     Criminal Action
                                           :
             v.                            :     No. 2:94-CR-00007-RWS-JCF-1
                                           :
TERRY JEROME COLLEY                        :

                  NOTICE OF SUPPLEMENTAL AUTHORITY

      Defendant Terry Colley files this supplemental authority in support of his

Amended Motion for Compassionate Release Pursuant for 18 U.S.C. §

3582(c)(1)(A). (Doc. 210).

      Included herein are two exhibits:

             1. Memorandum of Case Manager C. Goodwin (Aug. 12, 2020),
             2. Second Declaration of Terry J. Colley (Aug. 17, 2020).

      Dated: This 21st day of August, 2020.

                                           /s/ Kimberly Sharkey
                                           Kimberly Sharkey
                                           Georgia Bar No. 121472
                                           Attorney for Terry Jerome Colley


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              CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that the foregoing pleading was produced using Book

Antigua 13-point font in accordance with Local Rule 5.1C and that, on August 21,

2020, I electronically filed this pleading with the Clerk of Court using the CM/ECF

system, which will simultaneously deliver a digital copy to opposing counsel: Bret

R. Hobson, Assistant United States Attorney, 6th Floor, United States Courthouse,

Richard B. Russell Building, 75 Ted Turner Drive, SW, Atlanta, Georgia, 30303.

                                            /s/ Kimberly Sharkey
                                            Kimberly Sharkey
                                            Federal Defender Program, Inc.
